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March 14, 2025

VIA ECF

Honorable Mary Kay Vyskocil
United States District Court for the
Southern District of New York
500 Pearl Street, Courtroom 18C
New York, NY 10007

Re: Joseph Reiver v. The City of New York
Case No. 25-cv-01376

Dear Judge Vyskocil:

Counsel for plaintiff and defendant jointly request that the witness list and exhibit list
deadline be extended to 4pm today.

Thank you for your courtesy.

cc: Genan Zilkha (via email)

{N0801877.1}
